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 9                             IN THE UNITED STATES DISTRICT COURT
10                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
11
      MICHAEL TEMPEST, LADIAMOND                      Case No. 4:24-cv-06553-JSC
12    HARVEY, SARAH MCGREGOR
      HORNER, and BRIONNA BROUHARD, on                DECLARATION OF GREG BORUP IN
13    behalf of themselves and all others similarly   SUPPORT OF DEFENDANT SAFEWAY
      situated,                                       INC.S MOTION TO COMPEL
14                                                    ARBITRATION OF PLAINTIFFS CLASS
                            Plaintiffs,               ACTION COMPLAINT
15
             v.                                       Date:       January 23, 2025
16
                                                      Time:       10:00 a.m.
17    SAFEWAY, INC.,

18                          Defendants.

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     DECLARATION OF GREG BORUP IN SUPPORT OF DEFENDANT SAFEWAY INC.S MOTION TO COMPEL
                     ARBITRATION OF PLAINTIFFS CLASS ACTION COMPLAINT
                                    Case No. 4:24-cv-06553-JSC
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 1          I, Greg Borup, declare as follows:
 2          1.      I am in the Merchandising Department with Albertsons Companies, Inc. (ACI), parent
 3   company of Safeway Inc. (Safeway) and Randalls Food & Drugs LP (Randalls) amongst other
 4   subsidiaries (collectively, Albertsons Companies Entities). The Merchandising Department provides
 5   services to all Albertsons Companies Entities including Safeway and Randalls. I have been employed by
 6   an ACI related entity since 2020; previously I was employed by an ACI related entity from 2005 to 2011.
 7   My title is Director of Customer & Merchandising Insights. I have been in this role since April 2020. In
 8   my position, I am knowledgeable about ACIs databases, and how to search those databases, including
 9   the database (also referred to as a table) which contains information for customers who are members of
10   Safeways loyalty program (its Safeway for U members) and Randalls loyalty program (its Randalls
11   for U members).
12          2.      I am over the age of 18 and competent to testify to matters in this Declaration. I make this
13   Declaration on the basis of my personal knowledge and my review of the Albertsons Companies Entities
14   business records (ACI Business Records). To the extent this declaration is based upon my review of
15   ACI Business Records, I understand those records are kept in the regular course of business, entries are
16   made on those records in a timely manner by people with knowledge of the information being entered,
17   and it is the Albertsons Companies Entities regular business practice to maintain such records. If called
18   as a witness, I could competently testify to the matters stated herein.
19          3.      In May 2024, members of all the loyalty programs offered by ACI banners (including
20   Safeway for U and Randalls for U), were sent an e-mail notifying them that the applicable Terms of Use
21   had been updated as of May 6, 2024 (collectively referred to as the Email). A true and correct copy of
22   the Email under the Safeway banner and under the Randalls banner is attached to the concurrently filed
23   declaration of Kevin Michael as Exhibits B-1 and B-2 and is discussed in more detail there.
24          4.      ACI Business Records confirm that the Email was successfully delivered to the email
25   address                           , which is associated with an account belonging to Michael Tempest, on
26   May 9, 2024. There was no error recorded with transmission of the Email to the subject email address
27                               .
28   //
                                                           2
     DECLARATION OF GREG BORUP IN SUPPORT OF DEFENDANT SAFEWAY INC.S MOTION TO COMPEL
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 1             5.     ACI Business Records confirm that the Email was successfully delivered to the email
 2   address                              which is associated with an account belonging to Ladiamond Harvey,
 3   on May 9, 2024. There was no error recorded with transmission of the Email to the subject email address
 4

 5             6.     ACI Business Records confirm that the Email was successfully delivered to the email
 6   address                         , which is associated with an account belonging to Sarah McGregor, on May
 7   7, 2024. There was no error recorded with transmission of the Email to the subject email address
 8

 9             7.     ACI Business Records confirm that the Email was successfully delivered to the email
10   address                       , which is associated with an account belonging to Brionna Brouhard account,
11   on May 8, 2024. There was no error recorded with transmission of the Email to the subject email address
12                          .
13             I declare under penalty of perjury under the laws of the United States of America that the foregoing
14   is true and correct. Executed on November 12, 2024.
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18                                                              Greg Borup

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     DECLARATION OF GREG BORUP IN SUPPORT OF DEFENDANT SAFEWAY INC.S MOTION TO COMPEL
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